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                                            UNITED STAW SDISTRICT COURT
                                            SOUTX IG DISTRICT OF FLOU A

                                              CASBNO: '7.ç'- M T- 02-01?- - 'Tocre.
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    UNITBD STATES OF AW RICA,
                    Plaintiff,
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